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Form 22
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   FORM 22. Transcript Purchase Order




                    United States Court of Appeals for the Federal Circuit
Soverain Software, LLC                                     ) Appeal from IZl U.S. District Court for Ea1emOist.ofTuuTyterOivloian
                                                                         0 Court of International Trade
                                                                         0 Court of Federal Claims
                             -VERSUS-                      )TIUALCOURTNO. ~6~:0~7-~~~-=00=5~1~1-=LE=D~---------­
                                                           ) CIRCUIT COURT NO. - - - - - - - - - - - - - - - -
COW Corporation et al.
                                            TRANSCRIPT PURCHASE ORDER
                           (See Rules lO(b) and 11(b) of the Federal Rules of Appellate Procedure)

PART I-     TO BE COMPLETED BY THE APPELLANT WITHIN 10 DAYS OF FILING OF NaiiCE OF APPEAL.
            When filing tlus form, distribute copies as follows: 3 copies to the court reporter; 1 copy to the Trial
            Court; 1 copy to the appellee; 1 copy retained by appellant.
      A. Complete one of the following:
              ~ A transcripts is not needed for the appeal
              «=::z::J) A transcript is already on file
              ~ Request is hereby made to the reporter for a transcript of the following proceedings (give particu-
Iars):
                         Note: voir dire and closing arguments are not prepared unless specifically requested.

             Note: Unless the entire transcript is ordered, appellant must attach a statement of the issues to Copies 4 and 5.
      B. I certify that financial arrangements have been made with the reporter. Payment is by:
                (I       !) Private Funds
                ~ Government expense (civil case). A motion for transcript has been submitted to the ttialjudge.


SIGNED      /# / A/     '/"'?         DATE- 9 I 2 7 I 10 :._COUNSEL FOR ..:..N.:..:.ew_eg=.:=.g..:..ln.:..:.c:__._ _ _ _ _ __
ADDRESS 700 Koppers 8 !ding, 436 Seventh Avenue, Pittsburgh, PA 15219
TELEPHONE (412) 471-8815

PART II- TO BE COMPLETED BY THE COURT REPORTER
             2 copies retained by the reporter; I copy to be transnlitted to the Court of Appeals on same date transcript
             order is received.
             Date Purchase Order received: - - - - - - - - -
             Estimated completion date:
             Estimated number of pages: - - - - - - - - -
I certify that satisfactory f"rnancial arrangements have/have not (strike one) been completed with appellant for payment of the
cost of the transcript.


                                                                                    Signature and Date
                                                                Telephone

PART III - NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE TRIAL COURT.
              (To be completed by court reporter on date of filing transcript in Trial Court and this notification must be
              f01warded to Court of Appeals on the same date.)
Tiris is to certify that the tra~has been completed. " '
today.                        yY 'iQ        ~
                                          'ftl :.  \.A.~
  117/ ,
                  Date
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